 Case 7:16-cv-00108-O Document 212 Filed 11/21/21                  Page 1 of 2 PageID 5157



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION

                                                    )
 FRANCISCAN ALLIANCE, INC., et al.                  )
                                                    )
        Plaintiffs,                                 )
                                                    )      Case No. 7:16-cv-00108-O
        v.                                          )
                                                    )
 XAVIER BECERRA, Secretary of Health                )
 and Human Services, et al.,                        )
                                                    )
        Defendants.                                 )
                                                    )

                                     NOTICE OF APPEAL

       Defendants in the above-captioned case, Xavier Becerra, Secretary of the United States

Department of Health and Human Services, and the United States Department of Health and

Human Services, hereby give notice that they appeal to the United States Court of Appeals for the

Fifth Circuit from all aspects of this Court’s Memorandum Opinion and Order, ECF No. 206, as

modified by the Court’s Order granting Defendants’ Rule 60(b) Motion to Modify Order, ECF No.

211, and all prior orders and decisions that merge into those orders.

 Dated: November 21, 2021                           Respectfully Submitted,

                                                    BRIAN M. BOYNTON
                                                    Acting Assistant Attorney General

                                                    JENNIFER D. RICKETTS
                                                    Director, Federal Programs Branch

                                                    MICHELLE BENNETT
                                                    Assistant Branch Director, Federal Programs
                                                    Branch

                                                    /s/ Bradley P. Humphreys
                                                    BRADLEY P. HUMPHREYS
                                                    Trial Attorney
                                                    U.S. Department of Justice,
Case 7:16-cv-00108-O Document 212 Filed 11/21/21      Page 2 of 2 PageID 5158



                                        Civil Division, Federal Programs Branch
                                        20 Massachusetts Avenue, N.W
                                        Washington, D.C. 20005
                                        Telephone: (202) 305-0878
                                        E-mail: Bradley.Humphreys@usdoj.gov

                                        Counsel for Defendants




                                    2
